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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                             4:18CR3075

     vs.
                                                             ORDER
HERBERT B. KINCHEN,

                   Defendants.


      Defendant Kinchen has moved to continue the pretrial motion deadline,
(Filing No. 27),    because      Defendant   needs    additional   time   to   review
discovery before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court
finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant Kinchen’s motion to continue, (Filing No. 27), is granted.

      2)    As to both defendants, pretrial motions and briefs shall be filed on
            or before September 21, 2018.

      3)    Trial of this case is continued, and as to both defendants, it is now
            set to commence before the Honorable Richard G. Kopf, Senior
            United States District Judge, in Courtroom 1, United States
            Courthouse, Lincoln, Nebraska, at 9:00 a.m. on October 22, 2018,
            or as soon thereafter as the case may be called, for a duration of
            four (4) trial days. Jury selection will be held at commencement of
            trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, and as to both defendants, the time between today’s
            date and September 21, 2018, shall be deemed excludable time
            in any computation of time under the requirements of the Speedy
            Trial Act, because although counsel have been duly diligent,
            additional time is needed to adequately prepare this case for trial
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          and failing to grant additional time might result in a miscarriage of
          justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7). Failing to timely
          object to this order as provided under this court’s local rules will
          be deemed a waiver of any right to later claim the time should not
          have been excluded under the Speedy Trial Act.


    Dated this 20th day of August, 2018.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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